Case 1:15-cr-00637-KAM Document 31 Filed 02/02/16 Page 1 of 1 PagelD #: 104

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

 

UNITED STATES OF AMERICA, *
Plaintiff
-v- NOTICE OF APPEARANCE
MARTIN SHKRELI Docket No. 15 Cr 00637 (KAM)
Defendant,
xX

 

TO: CLERK OF COURT
PLEASE TAKE NOTICE that Benjamin Brafman, Esq. of Brafman & Associates, P.C.,

767 Third Avenue, New York, New York 10017, is appearing for the Defendant MARTIN

SHKRELI in the above-captioned matter. AI

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